Case 3:22-cv-00049-NKM-JCH Document 403-17 Filed 05/15/24 Page 1 of 5 Pageid#:
                                   5236




                              EXHIBIT Q
Case 3:22-cv-00049-NKM-JCH Document 403-17 Filed 05/15/24 Page 2 of 5 Pageid#:
                                   5237



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION

  BABY DOE, et al.,

                   Plaintiffs,                          CIVIL NO: 3:22-cv-00049-NKM-JCH

  -v.-

  JOSHUA MAST, et al.,

                   Defendants,




        DEFENDANT JOSHUA MAST’S REVISED OBJECTIONS AND
  ANSWERS TO PLAINTIFFS’ DISCOVERY STYLED “SECOND REQUESTS FOR
                             ADMISSIONS”

         Defendant Joshua Mast, pursuant to Fed. R. Civ. P. 33 and 36, submits the following

objections and answers to the discovery styled “Plaintiffs’ Second Requests for Admission to

Defendant Joshua Mast” issued January 18, 2024. The revised responses address typographical

errors in certain cross-references in response to “requests for admission” Nos. 56, 57, 59. 62, 70, and

79.

                                 OBJECTIONS TO INSTRUCTIONS

         Joshua Mast objects to Plaintiffs’ instructions to the extent they differ from, or require more

than, the Federal Rules of Civil Procedure. Joshua Mast will object to and answer the requests in

accordance with Fed. R. Civ. P. 33 and 36.

         Joshua Mast further notes and objects to Plaintiffs’ use of self-styled requests for admissions

which are in substance interrogatories. Joshua Mast will answer these interrogatories, consistent with

Rule 33, and hereby notifies Plaintiffs’ that they have now far exceeded the 25 interrogatories allowed

under Fed. R. Civ. P. 33 and any future attempt to issue interrogatories will require court approval.

         Joshua Mast further objects to the definition “Litigation Relating to Baby Doe” because it is
Case 3:22-cv-00049-NKM-JCH Document 403-17 Filed 05/15/24 Page 3 of 5 Pageid#:
                                   5238


documents because they did not, and do not, relate to any of John or Jane Doe’s claims—, claims

that relate only to Joshua Mast’s adoption of his daughter, the Child at issue in this litigation;, or (4)

third-parties may have used message retention settings in Signal that prevented Jousha Mast from

retaining messages in the normal course; (5) inadvertent conduct consistent with the normal and

reasonable use of the Signal messaging applications; and/or , or (6) technical limitations inherent to

the messaging applications or change in cell phone hardware that prevent current access to messages

sent years ago. To the best of his knowledge, Joshua Mast may have used Signal to communicate

with various individuals about the details of litigation regarding Baby Doe and the facts or

circumstances of Joshua and Stephanie Masts’ adoption and care for Baby Doe. To the extent such

communications exist and are in the custody and control of Joshua Mast, they would have been

reviewed and any responsive documents in response to Plaintiffs’ broad requests for production

would have been provided to Plaintiffs or, if subject to privilege, marked for privilege.

     If an admission or denial is deemed required, Joshua Mast, based on his reasonable review of

records presently available, admits he exchanged at least one communication using Signal with

someone relating to one of the several pending legal proceedings relating to Baby Doe, as reflected

on privilege log information disclosed to the Plaintiffs.



Request for Admission No. 34.          Admit that You have not retained all messages Regarding

Litigation Relating to Baby Doe that You sent or received using the messaging application Signal.

RESPONSE: See Response to Request for Admission No. 33. In addition, Joshua Mast objects to

this request because the definition of “Regarding Litigation Relating to Baby Doe” is overbroad and

vague. Joshua Mast also objects to this request because it fundamentally does not understand how

Signal operates. To the best of his recollection, Joshua Mast did not intentionally delete specific

communications on Signal relating to litigation relating to Baby Doe separate and apart from the
Case 3:22-cv-00049-NKM-JCH Document 403-17 Filed 05/15/24 Page 4 of 5 Pageid#:
                                   5239


reality that some messages may not be currently available due to the facts and circumstances detailed

in Joshua Mast’s use of signal explained in response to Request for Admission No. 33.



Request for Admission No. 35.         Admit that, between December 8, 2021 and September 1, 2022,

You deleted at least one message Regarding Litigation Relating to Baby Doe that You sent or

received using the messaging application Signal.

RESPONSE: See response to Request for Admission Nos. 34 and 33.



Request for Admission No. 36.         Admit that, on or after September 2, 2022, You deleted at least

one message Regarding Litigation Relating to Baby Doe that You sent or received using the

messaging application Signal.

RESPONSE: See response to Request for Admission Nos. 34 and 33.



Request for Admission No. 37.         Admit that, at any point since December 8, 2021, Your Signal

account was set to auto-delete messages sent or received by You.

RESPONSE: See Response to Request for Admission Nos. 34 and 33. In addition, Joshua Mast

objects to this request because the definition of “Regarding Litigation Relating to Baby Doe” is

overbroad and vague. Joshua Mast also objects to this request because it fundamentally does not

understand how Signal operates. Unlike other messaging applications, Signal does not have a simple

on and off switch that either keeps or deletes messages. Instead, every user on a conversation has the

ability to toggle with whether messages are kept or deleted at any time, so Joshua Mast was not in

control over the messages. As such, Joshua Mast stands on his objections because he was not in

control of all messages sent or received on Signal and thus could not control whether messages were

“deleted” by Signal. In an abundance of caution, however, after Plaintiffs raised concerns about
Case 3:22-cv-00049-NKM-JCH Document 403-17 Filed 05/15/24 Page 5 of 5 Pageid#:
                                   5240


certain Signal communications regarding Baby Doe in approximately June 2023, specifically with

regard to communications relating to the Pipe Hitters Foundation, notwithstanding concerns that

Plaintiffs improperly asserting that some post-litigation communications about the pending litigation

were relevant to discovery in this case, Joshua Mast endeavored to change Signal settings for relevant

communications to retain those communications on a going-forward basis. This change in settings

and practice should not be construed as an admission that any communications in 2023 or 2024 on

Signal relevant to this litigation, proportional to the needs of the litigation, or otherwise subject to

any legal obligation to retain documents.



Request for Admission No. 38.         Admit that, between December 8, 2021 and September 1, 2022,

at least one message Regarding Litigation Relating to Baby Doe that You sent or received using the

messaging application Signal, was deleted by an auto-delete setting.

RESPONSE: See response to Request for Admission Nos. 34 and 33.



Request for Admission No. 39.         Admit that, on or after September 2, 2022, at least one message

Regarding Litigation Relating to Baby Doe that You sent or received using the messaging application

Signal, was deleted by an auto-delete setting.

RESPONSE: See response to Request for Admission Nos. 37, 34 and 33.



Request for Admission No. 40.         Admit that You have used the messaging application

WhatsApp to communicate with others Regarding Litigation Relating to Baby Doe.

RESPONSE: Joshua Mast objects to this request because the definition of “Regarding Litigation

Relating to Baby Doe” is overbroad and vague. To the best of Joshua Masts’ recollection, he only

used WhatsApp to communicate with persons about litigation relating to Baby Doe or Baby Doe’s
